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PAUL, REICH & MYERS, P.C.

By: Robert E. Paul, Esquire

Identification No. 21252

1608 Walnut Street, Suite 500 Attorney for Plaintiff
Philadelphia, PA 19103

(215) 735-9200

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ROBERT J. KRAUS and :CIVIL ACTION
MARGARET M. KRAUS, h/w ;

VS. ‘NO. 18-CV-2119
ALCATEL-LUCENT, et al. ‘ASBESTOS CASE

 

ANSWER TO MOTION OF LOCKHED TO EXCLUDE DR. FRANK
Lockheed has failed to meet its burden on the motion.

Wherefore, the motion should be denied.

PAUL, REICH & MYERS, P.C,

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ROBERT H, PAUL
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PAUL, REICH & MYERS, P.C.

By: Robert E. Paul, Esquire

Identification No. 21252

1608 Walnut Street, Suite 500 Attorney for Plaintiff
Philadelphia, PA 19103

(215) 735-9200

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

ROBERT J. KRAUS and :<CIVIL ACTION
MARGARET M. KRAUS, h/w :
Vs. ‘NO. 18-CV-2119
ALCATEL-LUCENT, et al. - ASBESTOS CASE
MEMORANDUM OF LAW

 

Lockheed’s motion is similar to those of Honeywell, GE and Allen Bradley others.
Plaintiff incorporates by reference the answers to those motions under FRCP 10. He will
respond only to unique issues raised by Lockheed. There are two bases for liability against
Lockheed. The first is for asbestos on its SPS-40, one of the few pieces of equipment personally
identified by Kraus as one he was near when was work performed on it regularly due to its
tendency to break down. The second is for asbestos associated with the former GE Aerospace
division. This involves both GE and RCA asbestos-containing equipment on the Cambria as
well as the premises liability at the GE plant at 32™ and Chestnut Streets in West Philadelphia.
The factual questions on that are left to the answer to the summary judgment motion. These
factual issues are discussed in answer to Lockheed’s motion to exclude Faherty incorporated by

reference under F.R.C.P. 10.
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Lockheed focuses on the report and not on what it knows Dr. Frank will to testify about.

As FR Evid 703 permits, he plans to testify based on a hypothetical based on the likely evidence
at trial (Exhibit A, report).
This evidence is that:

1) Kraus was near the SPS-40 and the GE/RCA equipment on the ship when they
were opened on a regular one month basis for preventive maintenance.

2) The SPS-40 was frequently repaired near Kraus.

3) When all electronics equipment on the ship was opened on a monthly basis it
gave off dust that had to be vacuumed and Kraus breathed the dust.

4) This inhalation occurred every day (based on the testimony).

5) There were many GE/RCA pieces of equipment on the ship.

6) The standard for such equipment was to contain asbestos.

7) All such products whether tape, cloth, paper wire or gaskets give off
dangerous quantities of asbestos.

8) His exposure lasted 34 months.

9) Does defendant admit the asbestos tape is dangerous

Whether or not Dr. Frank, a world renowned expert on asbestos (Exhibit B) can recall

from memory the specifics of the case or must be refreshed by a hypothetical he can still testify
based on these hypothetical facts and apply his expertise to determine if Lockheed was a
substantial factor see FR Evid 703 years of exposure to SPS-40 being open. This is not an each
and every breath exposure but a years long exposure case. Three months is enough under Rost v.
Ford, 151 A.3d 1032 (Pa.2016). It is a three years exposure and thus is a large exposure here.

The motion should be denied.
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PAUL, REICH & MYERS, P.C.

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ROBERT E. PAWL
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CERTIFICATE OF SERVICE
The undersigned certify that a true and correct copy of the within Plaintiffs answer to
Lockheed’s Motion to Exclude the Testimony of Dr. Frank has been filed electronically. This
document is available for viewing and downloading from the ECF system and was served upon

all counsel of record.

Vola f 1A

 

Robert E. Paul

Date: January | b , 2020
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oo EXHIBIT. A es

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Case 2:18-cv-02119-TJS Document 609 Filed 01/16/20 Page 7 of 41

DREXEL UNIVERSITY

,» Dornsife
School of Public Health
Department of Environmental & Arthur L, Frank, MD, PhD
Occupational Health Professor, Chair Emeritus

October 1, 2019

Sandra Vitale Coia, Paralegal
Paul, Reich & Myers, P.C.
1608 Walnut Street, Suite 500
Philadelphia, PA 19103

Re: Robert J. Kraus

Dear Ms. Coia:

I am in receipt of records in the case of Mr. Kraus and you have asked me to review them and
render my judgment regarding any evidence of an asbestos-related disease.

The materials sent to me included a case summary; a client data sheet; pathology records of New
York Presbyterian/Weill Cormell Medicine; military specifications for molding plastics, US Navy
documents; letters from Mr. Kraus’ co-workers — Messrs. Landrum and Gossett; portions of Mr. Kraus’
deposition transcript; and pages from a deposition transcript of Mr. Covaleski, a pipefitter at General

Electric.

I write this report as a physician licensed in Pennsylvania and Texas, with active licenses, and
Board Certified in both internal medicine and occupational medicine. My complete CV is attached as
Exhibit A. My fee for doing medical/legal work is $450/hr., for any such activities. My Federal Rule 26
Case Log is attached as Exhibit B.

Mr. Kraus was exposed to asbestos on electronic equipment while serving in the United States
Navy aboard the USS Cambria between 1964-1967. He was an electronics material officer but may have
also been exposed to asbestos elsewhere on that vessel. I have learned from reading some patents given to
me by plaintiffs counsel that resistors and capacitors commonly contained asbestos. Landrum and Gossett
testified to Kraus’ exposure to the products. He was also exposed to asbestos while employed at a General
Electric plant as an electrical engineer at a General Electric plant on Chestnut Street, such employment
occurring between 1967-1972. The materials sent to me helped document the specific exposures.

In December 2017, Mr. Kraus was diagnosed with a malignant pleural mesothelioma.

Based upon my review of the materials sent to me, it is my opinion, held with a reasonable degree
of medical certainty, that Mr. Kraus developed a malignant pleural mesothelioma as a result of his exposures
to asbestos. This would have included his exposures while serving in the United States Navy, including his
time in drydock at the Philadelphia Naval Shipyard, was well as his work as an engineer for General Electric

4215 Market Street, Nesbitt Hall, Seventh Floor, Philadelphia, PA 19104 | Tel: 267.359.6048
drexel.edu | alfl@ drexcledu
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October 1, 2019
Re: Robert J. Kraus
Page 2

between 1967-1972 when he worked in facilities where asbestos was present. The cumulative exposures
that he had to asbestos, from any and all products, containing any and all fiber types, would have contributed

to his developing this malignancy.

I will not discuss in this report my views on specific asbestos-containing products. At trial, I expect
to be provided hypothetical questions about the exposures to specific types of asbestos-containing products.
I expect to comment at trial whether exposures to those specific types of asbestos-containing products,
considered in the context of plaintiff's entire asbestos exposure, contributed to the causation of the disease
in this case. I will also testify, if asked, on the history of the scientific knowledge of asbestos disease as
applied to this case.

My fuller views regarding the matter of asbestos and the development of disease can be found in
my affidavit of December 20, 2016, which I attach here as Exhibit C.

The hazards of asbestos have been known for more than a century and the need to protect
individuals written about more than eighty years ago.

Should you have any questions about this matter please feel free to contact me.
Sincerely yours,

Aelllur S Fade

Arthur L. Frank, MD, PhD

ALF/kmw

 

State of Pennsylvania
County of Philadelphia

(sr
Sworn to and subscribed before me this day of OLTOBER 2019

COMMONWEALTH OF PENNSYLVANIA - NOTARY GEAL
Keren M Weber, Notary Public

Philadelphia County
My Commission Expires 02/14/2023
. Commission Number 1345503

Notary Public

 

 

 

 
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EXHIBIT B
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November 2019

CURRICULUM VITAE

ARTHUR L. FRANK, MD, PHD

PERSONAL INFORMATION

Place of Birth:
Citizenship:
Marital Status:

Office Address:

Home Address:

Telephone:

E-mail:
EDUCATION

College:

Medical School:

Graduate School:

Internship and Residency:

United States of America
United States of America
Married with three children

Drexel University

Dornsife School of Public Health

Nesbitt Hall, 7 Floor

3215 Market Street, Philadelphia, PA 19104

1216 Yarmouth Road
Wynnewood, PA 19096

267-359-6048 (O)
267-359-6006 (F)
267-246-4185 (M)
610-642-1785 (H)

alf13(@drexeledu

State University of New York at Buffalo
Buffalo, NY 14214

1964 — 1968, BA, May 31, 1968

Major: Anthropology

Mount Sinai School of Medicine of the City of NY
New York, NY 10029
1968 — 1972, MD, June 4, 1972

The City University of New York

Biomedical Sciences Doctoral Program

Mount Sinai Medical Center

New York, NY 10029

1971 — 1977, PhD, June 2, 1977

Thesis Title: Quantitation of Asbestos-Induced Hyperplasia
in Hamster Trachea Epithelium Maintained in Organ
Culture

Straight Medical Internship, Internal Medicine Residency
Mount Sinai Hospital, New York, NY

1972 — 1973, 1975 — 1977

Occupational Medicine Residency,

Mount Sinai Hospital, New York, NY

1975 - 1977

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MILITARY SERVICE

Commissioned Officer (Active), United States Public Health Service

Rank: SA Surgeon (03) 1973 — 1975

Lung Cancer Branch, DCCP, National Cancer Institute, National Institutes of Health, Bethesda, MD
Member, Inactive Reserve, 1975 — 2010. Permanent Rank: Surgeon (04)

Active Duty (variable), 1992 — 1994. Temporary Rank: Medical Director (06)

HONORS AND AWARDS

College: BA, Cum Laude, with High Honors in Anthropology, 1968

Medical School: National March of Dimes Award, 1971

Residency: Chairman’s Award — Department of Medicine, Mount Sinai Hospital, 1977

Graduate School: Sigma XI, 1977

Horowitz Memorial Award of the Mount Sinai School of Medicine, 1983

Educator of the Year Award, Association of Teachers of Preventive Medicine (First Annual Award), 1987
University of Kentucky Faculty Grant Award, 1988-91 (Awarded to top 20% of University-wide faculty)
Honorable Order of Kentucky Colonels (3)

Senior Associateship, National Academy of Science, 1990-91 (NIOSH)

Honorary Ambassador of Labor, Labor Secretary, Commonwealth of Kentucky, 1992

BRASH 1994 Chaos and Strange Attractor Award

Topperman Professorship — The University of Texas Health Center at Tyler, 1994-2002

Arthur L. Frank, MD, Keynote Lectureship, UTHCT, 2002

Marcus Key Lecture, TOMA, 2003

American College of Preventive Medicine Distinguished Service Award, February 2004

Sappington Lectureship, American College of Occupational and Environmental Medicine, May 2005
Canadian Board of Occupational Medicine Lectureship, June 2006

Hygeia Society, Drexel University School of Public Health, 2009

Presidential Volunteer Service Gold Award, 2010

Honorary “Duke of Hazard”, 2011

Irving J. Selikoff Lifetime Achievement Award, ADAO, March 2012

Outstanding Academic Partner Award, District 1199C, May 2013

Ramazzini Award, Collegium Ramazzini, 10/2016 — Ramazzini lecturer

CERTIFICATION AND LICENSURE

National Board of Medical Examiners, 1973 [Certification No. 123394, July 2, 1973]
Kentucky State License, MD, #22985 [September 29, 1983]
New York State License, MD, #116288 [July 2, 1973]
Maryland State License, MD, Certificate D16595 [May 17, 1974]
Diplomate, American Board of Internal Medicine [#58896, September 13, 1978]
Diplomate, American Board of Preventive Medicine (Occupational Medicine) [#21574, November 26,
1979]
Texas State License [Distinguished Professor’s License issued December 28, 1994]
(Converted on March 2, 1996 to unrestricted Texas License J9855)
Pennsylvania State License, MD, #418954 [March 20, 2002]

ACADEMIC APPOINTMENTS
Professor of Public Health, Department of Environmental and Occupational Health, Drexel University,
Dornsife School of Public Health, 2002 to present (tenured)

Professor of Medicine, Drexel University School of Medicine (secondary), 2002 to present

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Professor of Civil, Architectural and Environmental Engineering, Drexel University College of
Engineering (secondary), 2011 to present

Member, Obama-Singh Grant Team (Drexel and JIT-Delhi), 2012-2015

Sam Topperman Professor of Medical Education, Professor of Occupational and Environmental
Medicine, Professor of Cell Biology and Environmental Science, University of Texas Health Center at
Tyler, 1994-2002

Adjunct Professor, Department of Preventive Medicine and Community Health, The University of Texas
Medical Branch at Galveston, 1995-present

Clinical Professor, Department of Medicine, The University of North Texas Health Science Center at Fort
Worth, 1997-2002

Clinical Professor, Department of Occupational Medicine, University of Texas Health Science Center at
Tyler, March 2004-present

Adjunct Graduate Faculty, Stephen F. Austin State University, Nacogdoches, Texas, 1997-2002
Visiting Faculty, US Air Force Schoo] of Aerospace Medicine, Brooks AFB, Texas; Wright Patterson
AFB, Ohio, 2001-present

Adjunct Professor, Mongolian National University of Medical Sciences, School of Public Health,
Ulaanbaatar, Mongolia, 2015-present

Professor, Department of Preventive Medicine and Environmental Health, University of Kentucky, 1983-
1994

Member, Graduate Center for Toxicology, University of Kentucky, 1988-1994

Associate Member, Appalachian Center, University of Kentucky, 1989-1992

Instructor, Assistant Professor, Associate Professor, Department of Community Medicine
(Environmental Medicine), Mount Sinai School of Medicine, 1977-78, 1978-82, 1982-83

Instructor, Department of Medicine, Mount Sinai School of Medicine, 1978-1983

Member, Graduate Faculty, City University of New York, Biomedical Sciences Program, 1980-1983
Adjunct Professor, Peking University School of Public Health, Beijing, PRC, 6/19-5/22

ADMINISTRATIVE APPOINTMENTS

Chair Emeritus, Department of Environmental and Occupational Health, Drexel University, Dornsife
School of Public Health, 2014 —

Chairman, Department of Environmental and Occupational Health, Drexel University, Dornsife School of
Public Health, 2002-2014

Vice President for Medical Education, (title change as of 2/99), Associate Director for Medical Education
(1994-1999), University of Texas Health Center at Tyler, 1999-2002

Ethics Officer, University of Texas Health Center at Tyler, 1998-2002

Center Director, Southwest Center for Agricultural Health, Injury Prevention and Education, 1995-2001,
Renewed, 2001

Medical Director, Lake County Area Health Education Center, University of Texas Medical Branch at
Galveston, 1995-2002

Chairman, Department of Preventive Medicine and Environmental Health, University of Kentucky College
of Medicine, 1983-1994

Director, Occupational Medicine Residency Program, 1984-1994; General Preventive Medicine
Residency Program, 1984-1989; Department of Preventive Medicine and Environmental Health

University of Kentucky College of Medicine

Principal, Behavioral Research Aspects of Safety and Health Working Group (BRASH), 1984-1994
Director of Graduate Studies, Master of Science in Public Health Degree Program, 1987-1994,
University of Kentucky Graduate School

Deputy Director, Southeast Center for Agricultural Health and Injury Prevention, 1992-1994

Scientific Administrator, Environmental Sciences Laboratory, The Mount Sinai School of Medicine,
1981-1983

Director, Residency Programs in Community Medicine, Mount Sinai School of Medicine, 1977-1981

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CLINICAL APPOINTMENTS

Clinical Appointment, Drexel University College of Medicine, 2002-present

Attending Staff and Chief of Service, University Hospital, University of Kentucky Medical Center,
1983-1994

Consultant Appointment, Veterans' Administration Hospital, Lexington, Kentucky

Courtesy Staff Appointments, Middlesboro ARH 1985-1994; Hazard ARH 1985-1994

Assistant Attending, Mount Sinai Hospital, New York, NY, 1982-83; Senior Clinical Assistant,
1978-1982; Clinical Assistant, 1977-1978

FELLOWSHIPS AND MEMBERSHIPS IN PROFESSIONAL ORGANIZATIONS

American Association for the Advancement of Science, 1972, Elected to Fellowship, 1996

American College of Physicians, Fellow

American College of Preventive Medicine, Fellow, Occupational Medicine Regent, 1997-1999
Chair, CME Committee, 1997-2015, Board of Directors, American Journal of Preventive Medicine, 1999-
2003, Secretary - Treasurer, 2000 — 2004, Member, Finance Committee, 2000-2015, Environmental
Health Committee

American Public Health Association

American Thoracic Society

Association of Teachers of Preventive Medicine; Secretary, 1981-84; Board of Directors, 1987-90,
Education Committee, 1992-1994

Association of Teachers of Preventive Medicine Foundation, Inc.; Board of Directors, 1981-84

New York Academy of Sciences, Life Member

Society for Occupational and Environmental Health, Founding Member; Governing Council, 1992-1994,
Vice-President 1998-2000

American College of Occupational and Environmental Medicine

Collegium Ramazzini, Executive Board 2002-2006

International Society for Preventive Oncology

Kentucky Occupational Safety and Health Network, Founding Member; Board of Directors, 1986-94;
Executive Board, 1991-94; Secretary, 1992-93; President-Elect, 1993-94

National Occupational Safety and Health Education Association, Founding Member, 1989; Chair,
1990-91

Farm Safety 4 Just Kids

British Occupational Hygiene Society

Sigma Xi, Life Member

Texas Council on Agricultural Safety and Health, President 1999-2001

College of Physicians of Philadelphia 2002, elected to Fellowship, 2005

American Thoracic Society, elected to Fellowship, 2018

TEACHING ACTIVITIES

Course Coordinator, Occupational and Environmental Medicine, Georgetown University School of
Medicine, 1975

Division of Industrial Safety, District of Columbia Industrial Safety Board, Washington, DC 1974, 1976
Page and William Black Post-Graduate School of Medicine, Mount Sinai Medical Center, 1977-82
Continuing Education, Mount Sinai Hospital Department of Nursing, 1976-78

Hahnemann Medical School, 1978-82

Hahnemann Hospital, 1980

University of Pennsylvania School of Medicine, 1979

University of Medicine & Dentistry of New Jersey, 1979-1981

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Senior Medical Consultants, 1979-83

Practicing Law Institute, 1980-85

State University of New York at Buffalo, 1980-81

State University of New York at Stony Brook, 1981-82

IBM/University of Kentucky EXCEL Program, 1985-89

University of Kentucky Annual Family Medicine Review (Continuing Medical Education), 1985-86,
1993

University of Kentucky Annual Physician Assistant Review, 1987

University of Kentucky College of Engineering, Continuing Education 1984-89, 1994
University of Louisville College of Medicine, 1986-87, 1991

Bay State Medical Center, Springfield, Massachusetts, 1988

Preceptor, William Osler Program, UK Medical Center, 1988-1994

American College of Preventive Medicine, Board Review Course, 1989, 1990
EPOCH Awardee, NIOSH, 1989-91

St. Elizabeth's Hospital, Edgewood, KY, 1991, 1992, 1993, 1994

University of Texas Health Center at Tyler, Tyler, TX, 1993

Beijing Medical University, Beijing, People's Republic of China, 1993, 1995
Methodist Hospital, Indianapolis, IN, 1993

American Occupational Health Conference, Chicago, IL, 1994

Forum Program, Donovan Scholars Program, University of Kentucky, 1994
Kentucky Thoracic Society, 1994 (L. E. Smith Lectureship)

Southern Agromedicine Consortium, Keynote Luncheon Address, 1994
Kentucky School Board Insurance Trust, 1994

Qingdao Sanitation and Anti-Epidemic Station, 1995

School of Public Health, University of Texas, Houston, 1995

School of Public Health, University of Texas, San Antonio, 1997

Qingdao University School of Medicine, Qingdao, PRC, 1997

Ain Shams University Institute of Postgraduate Studies, Cairo, Egypt, 1998
UTMB, Course on Occupational Medicine, Galveston, Texas 1999, 2000, 2001
Qingdao Centers for Disease Control and Prevention, Qingdao, PRC, 2000
UTMB, Department of Family Practice, Galveston, Texas, 2000, 2001,2002
University of Texas Southwestern Public Health Program, Dallas, Texas 2000
UNTHSC, Fort Worth, Texas, 7/2001

Air Force School of Aerospace Medicine, Brooks AFB, Texas 2/02, 2/03, 6/06
GI Conference, Drexel 2/03

Pulmonary Conference, Drexel 2/03, 5/03, 5/15

CONSULTANCIES AND RELATED ACTIVITIES

Consultant, George Washington University School of Medicine, Science Communication Division,
1976-78

Consultant, Environmental Protection Agency; Ad Hoc Committee for the in-vitro study of fibrous
amphiboles, 1977

Consultant, DHEW Committee to Coordinate Toxicology, Subcommittee on Asbestos, 1978
Consultant, State University of New York at Stony Brook, School of Medicine, Department of
Community Medicine, 1980

Consultant, National Academy of Sciences Committee on Indoor Air Pollution, 1981

Invited Participant, Conference on Vision Effects of VDT Use, National Academy of Sciences, 1983
Ad Hoc Grant Reviewer, Health Resources Administration, Division of Medicine, Study Section on
Environmental Medicine Curriculum Development Grants, 1979; Preventive Medicine Residencies, 1980,
1983, 1988, 1991

Site Visitor, National Institute for Occupational Safety and Health, 1983-91

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Editorial Board, American Journal of Industrial Medicine, Environmental Research, Journal of
Community Health, Toxicology and Industrial Health, Cancer Detection and Prevention, International
Journal of Occupational Medicine and Toxicology, International Journal of Hygiene and Environmental
Health, etc.

Article Reviewer, Journal of the National Cancer Institute, Journal of the American Medical
Association, Journal of Environmental Pathology and Toxicology, Science, American Journal of Public
Health, The American Statistician, Journal of Occupational and Environmental Medicine, Archives of
Environmental Health, Southern Medical Journal, Law and Social Inquiry, Occupational and
Environmental Medicine, American Journal of Preventive Medicine, Archives of Internal Medicine, etc.
Associate Editor, Environmental Health Section, Maxcy-Rosenau-Last Public Health and Preventive
Medicine, 12th Edition, 13th Edition

Advisor, New York City Health Systems Agency Task Force on Environmental Health, 1979
Member, Environmental Health Committee, New York City Health Systems Agency, 1979-80
Member, New York Lung Association Committee on Occupational Hazards to the Lung, 1977-78
Consultant, University of Arizona College of Medicine, Department of Family and Community
Medicine, Project on Incorporation of Preventive Medicine into Family Practice, 1985-86

Consultant, Occupational Cancer Project, Workers Occupational Health Clinic, Cincinnati, Ohio,
1985-87

Member, NIOSH Study Section for Occupational Safety and Health, 1985-89; Chairman, 1988-89
Consultant, Labor Cabinet, Commonwealth of Kentucky, 1987-1994

Member, National Board of Medical Examiners, FLEX Examination Committee, 1985-91; NBME
Pulmonary Medicine Subcommittee, 1989-91; USMLE Content Reviewer, 1994

Consultant, Toyota Motor Manufacturing, USA, Inc., 1986-1994; Acting Medical Director, 1988
Member, Steering Committee, National Conference on Residencies in Occupational Medicine, 1988
Chair, Association of Occupational Medicine Residency Directors, 1988-1989

Grant Reviewer, Arizona Disease Control Research Commission, 1988-2018

Consultant, Ashland Oil, Ashland, Kentucky, 1988-1994

Member, Advisory Board Center for Applied Energy Research, University of Kentucky, 1990-1995
Member, Board of Directors, Occupational Physicians Scholarship Fund, 1988- 2010

Consultant, Urgent Treatment Center, Lexington, Kentucky, 1989-1994

Consultant, NIOSH Review of Document on Workplace Screening, 1990

Consultant, Natural Resource and Environmental Protection Cabinet, Commonwealth of Kentucky,
1990-1994

Consultant, Island Creek Corporation, 1990-1993

Member, NIOSH Board of Scientific Counselors, 1992-1996

Presenter, International Conference on Exposure to Carcinogens and Mutagens in the Industrial and
Ambient Environment, "Issues of Asbestos Carcinogenicity". Jerusalem, Israel, January 30, 1992.
Member, Environmental Board, Commonwealth of Kentucky (Appointed by the Governor), 1991-95
Presenter, Ohio AFL/CIO Worker's Compensation Institute, "The Role of the Primary Care Physician in
Occupational Disease". Akron, Ohio, March 1992.

Presenter, (20th Anniversary Class Representative) Alumni Day Program, Mt. Sinai School of Medicine,
"The Mt. Sinai-Kentucky Connection". New York, NY April 11, 1992.

Presenter, NIOSH Grand Rounds, ALOSH, Morgantown, WV, 1992.

Associate Editor, Mosby Year Book of Occupational and Environmental Medicine, 1992-94, Co-Editor-
in-Chief, 1995-98

Guest Editor, Memorial Volume of Environmental Research honoring Dr. Irving J. Selikoff, 1992
Consultant, Qingdao Hygiene and Anti-Epidemic Station, Qingdao, Shandong Province, (now Qingdao
Municipal Center for Disease Contro] and Prevention), 1993-Present

Guest Professor, Beijing Medical University, Peoples Republic of China, 1993-1996

Presenter, From Rio to the Capitals: State Strategies for Sustainable Development, May 25-28, 1993,
Louisville, Kentucky

Presenter, State of Ohio Workers Compensation Program, 1993

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Presenter, Kentucky Laborer's Union Asbestos Training Program, 1993

Presenter, Collegium Ramazzini Scientific Session, 1993, Session Co-Chair

Kentucky Nominee, Technical Oversight Committee, Southern Appalachian Mountain Initiative, 1993
Consultant, EPA Panel on the Use of Genetic Monitoring for Risk Assessment in Communities Exposed
to Hazardous Waste, University of Texas Medical Branch at Galveston, 1994

Member, Residency Advisory Committee, U.S. Air Force Residency Program in Preventive Medicine,
Brooks Air Force Base, San Antonio, Texas, Wright-Patterson AFB, Dayton, Ohio 1994-Present
Advisory Board Member, "Cost-effective Medicine Reports", Mosby Publishing Co. 1994-1996
Presenter, Collegium Ramazzini Scientific Session, Carpi, Italy, October 29, 1994

Advisory Board Member, BRASH (Behavioral Research Aspects of Safety and Health) Working
Group, University of Kentucky, 1994

Presenter and Session Chair, SOEH Conference on Tuberculosis in the Workplace. December 1-2,
1994, Washington, DC

Presenter, Andrews Publications Seminar on Asbestos-Related Diseases, Houston, Texas, March 1995
Presenter, Bar Ilan University, Israel, March 1995

Presenter, Hadassah Medical School, Israel, March 1995

Presenter, |st International Congress of the Minia School of Medicine, Minia, Egypt April, 1995
Program Participant, Kentucky Governor's Safety and Health Conference, Louisville, Kentucky, April
1995

Member, Advisory Board, Southwest Center for Occupational and Environmental Health, Houston,
Texas, 1995-1998.

Consultant, Texas Medical Association, Council on Medical Education, 1994-2002; Subcommittee on
Accreditation, 1995-2001; Chair 1997-2001; CME Committee, 1997-2001.

Presenter, Occupational and Environmental Respiratory Disease Course, The University of Texas School
of Public Health, Houston, Texas 1995.

Presenter, Departmental Seminar, The Department of Preventive Medicine and Community Health, The
University of Texas Medical Branch, Galveston, Texas 1996.

Presenter, Second International Conference of Environmental Mutagenesis in Human Populations at
Risk, Prague, Czech Republic, 1995.

Session Chair, Annual Meeting of the Society of Occupational and Environmental Health, Bethesda,
Maryland, Dec-6-8, 1995.

Member, Advisory Board, Lake Country AHEC, 1995-2002; Board chair, 1996-1997.

Member, Advisory Board, NIEHS, Toxicology Center, UTMB, 1996-2002

Session Chair and Rapporteur, Third Annual NIOSH Agricultural Health and Safety Conference, lowa
City, lowa, March 1996.

Seminar Program Chair, AOHC, San Antonio, Texas, ACOEM, 1995-96.

Alumni Day Centennial Program, Mount Sinai Medical Center, New York, NY, April 13, 1996.
Speaker and Session Co-chair, The 6th International Conference on "Preservation of our World in the
Wake of Change", Jerusalem, Israel, June 1996.

Speaker, VIII Inhaled Particles Meeting, Cambridge, England, August 1996.

Presenter, Collegium Ramazzini Scientific Session, Carpi, Italy, October 27, 1996.

Member and Chair, Residency Advisory Committee, Occupational Medicine, University of Texas
Medical Branch, Galveston, Texas 1997

Member, University of Texas System Master Planning Organization and Task Force for Distance
Learning and the Virtual University, 1997.

Member, Advisory Board, Texas A&M University Rural School of Public Health, College Station,
Texas, 1997-2002

Presenter, TOMA meeting, Houston, Texas, March 14, 1997

Presenter, Environmental Information Association, New Orleans, Louisiana, March 25, 1997
Presenter, The University of Texas Medical Branch, Galveston, Texas, April 18, 1997

Member, University of Texas Telehealth Committee, 1997-2002

Presenter, ACOEM, AOHC Session, Orlando, Florida, May 12, 1997

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Presenter, Qingdao Municipal Hospital, Department of Radiology, June 1997

Presenter, Research in China, Directors Associates. Tyler, June 1997

Presenter and Session Co-Chair, Collegium Ramazzini meeting, Carpi, Italy October, 1997
Presenter, Medical Education Grand Rounds, Mount Sinai School of Medicine, New York, NY,
November 1997

Member, Shared Student Information Systems Committee, U.T. System, Austin, Texas, 1997-98
Member, Shared Administrative Support Systems Committee, U.T. System, Austin, Texas, 1997-98
Member, Texas Council for Agricultural Safety & Health 1997; Chair-Elect, 1997-99

Presenter, "Children in the Workplace", presented at the Annual Ain Shams University Institute of Child
Studies Conference, Cairo, Egypt, March 1998

Presenter, Texas Academy of Mathematics and Science, University of North Texas, Denton, "Medical
Sleuthing: Environmental Toxins", April 13, 1998

Grand Rounds Presenter, Presbyterian Hospital of Dallas, Environmental Toxins, April 29, 1998
Member, International Scientific Advisory Committee Third International Conference on
Environmental Mutagens in Human Populations, 1998

Member, Telehealth Steering Committee Working Group on Education/Community Networks/Libraries,
Telecommunications Infrastructure Fund Board, Austin, Texas 1998-1999

Presenter, AHEC-SW, Texarkana, Arkansas, Conference on Respiratory Therapy. "Occupational Lung
Cancer" and "Occupational and Environmental Lung Disease Case Studies", Texarkana, Arkansas
8/28/98

Presenter, First Annual TCASH Scientific Conference, Fort Worth, Texas, October 16, 1998
Presenter, Childhood Agricultural Hazards at Collegium Ramazzini meeting, Carpi, Italy, October 25,
1998

Consultant, Medical Communities Project, Environmental Protection Agency, Washington, D.C., 1998-
99

Presenter, two presentations for the Third International Conference on Environmental Mutagens in
Human Populations, November-December 1998, Thailand

Presenter, TAMS Senior Seminar, February 1, 1999

Presenter, East Texas Council on World Affairs, Tyler, Texas, February 8, 1999

Presenter, Prevention 99, ACPM Session on Preventive Medicine, March 20, 1999

Presenter, Texas Occupational Medicine Association Meeting, Dallas, Texas, May 7, 1999

Panelist, East Texas Minority Health Network Conference, Tyler, Texas, June 3, 1999

Presenter, 7" International Conference of the Israel Ecology Society, Jerusalem, Israel, June, 1999
Presenter, University of Texas Houston School of Public Health Course on Occupational Medicine for
the Primary Care Practitioner, Houston, Texas, September 25, 1999

Invited Presenter, Committee on Work and Industry, Chamber of Deputies, Brasilia, Brazil, September
29, 1999

Presenter and Session Chair, Collegium Ramazzini, October 1999, Carpi, Italy

Chair, International Scientific Advisory Committee of the Selikoff Center, Ra’anana, Israel,1999
Presenter, Texas Academy of Mathematics and Science, Denton, Texas, January 31, 2000

Presenter, Pediatrics Grand Rounds, UTHCT, Tyler, Texas, 2/17/00

Consultant, Qingdao Centers for Disease Control and Prevention, Qingdao, PRC, 2000-present
Session Chair, NYCASH Meeting on Agricultural Safety and Health, Cooperstown, New York, 2000
Site Visitor, NIEHS, 2000

Guest Consultant, Annual Review of Public Health, Palo Alto, California, 2000

Award Recipient, Guest Speaker, ACCME, Chicago, Illinois, 2000

Presenter, TMA CME Conference, June 2000

Presenter and Conference Planning Committee, International Cancer Conference, Grand Rapids,
Michigan, September 2000

Presenter, Pulmonary Program, UTHCT, September 2000

Presenter, Collegium Ramazzini, Carpi, Italy October 2000

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November 2019

Presenter, Session Chair and Conference Planning Committee, ISPO Conference, Geneva, November
2000

Presenter and Session Chair, Indian Association of Occupational Health Conference, New Delhi,
February 2001

Presenter, Industrial Toxicology Research Center, Lucknow, India, February 2001

Member, Editorial Board, Annual Review of Public Health, 2001 — 2005

Presenter, Allen Cohen Memorial Lecture, Tyler, Texas, April 5, 2001

Presenter, UTHCT Grand Rounds, April 6, 2001

Presenter, Grand Rounds, Family Practice, UTMB, Galveston, Texas, July 11, 2001

Presenter, UTHSC, Grand Rounds, Internal Medicine, Fort Worth, Texas July 8, 2001

Member, Physicians Panel Member, State Claims Assistance Program, Department of Energy, October 1,
2004

Co-Moderator, Institute of Water Quality, ACPM Meeting, San Antonio, Texas, February 2002
Presenter, East Texas Council on World Affairs, March 2002

Presenter, Scientific Program, Alumni Day (30" class year representative), Mount Sinai Medical Center,
New York, NY, April 6, 2002

Presenter, TAMS Program UNT, Denton, Texas April 8, 2002

Presenter, University of Texas at Tyler School of Nursing, April 15, 2002

Presenter and Chair, New York Academy of Sciences, Mesothelioma Program, April 25, 2002
Presenter, Occupational Medicine Program, UTHCT, June 2002

Presenter, UTMB, Occupational Medicine Residency Program, July 2002

Session Chair, Collegium Ramazzini Meeting, Bologna, Italy, October 2002

Member, State Advisory Committee on Environmental Health Tracking, Pennsylvania, November 2002-2017
Presenter, Drexel University SESEPS Seminar, December 2002

Presenter, Drexel University SPH Grand Rounds, December 2002

Presenter, Air Force Schoo] of Aerospace Medicine, February 2003

Presenter, GI Conference, Drexel, February 2003

Presenter, Pulmonary Conference, Drexel 02/03, 05/03

Presenter, University of Pennsylvania Residency Program in Occupational Medicine, March 2003,
March 2005, April 2006, 2011, 2012, 2013, 2015

Presenter, George Washington University Seminar, April 2003

Marcus Key Lecturer, TOMA Meeting, April 2003

Consultant, Waste Management Corporation, April 2003

Presenter, ACPM Water Conference, Washington, DC, June 2003

Presenter, UTMB, Galveston, Texas, July 2003

Presenter, Fox Chase Cancer Center, September 16, 2003

Presenter, APHA, San Francisco, California, November 2003

Moderator, ACPM National Teleconference on Pediatric Environmental Health, May 2004

Member, Environmental Justice Advisory Board, DEP, Harrisburg, Pennsylvania, 2004-; Chair 2006-2018
Presenter, Harris Martin Conference, Manganese, San Francisco, California, June 15, 2004

Presenter, UTHCT — Occupational Lung Disease, June 26, 2004

Presenter, UTMB — Occupational Cancers, Occupational Lung Disease, The History of Occupational
Medicine, July 7, 2004, July 5, 2006

Presenter, Graduate School of Public Health, Pittsburgh, Asthma Seminar, August 10, 2004

Presenter, Drexe! School of Public Health, Agriculture and Public Health, Faculty Seminar, August 13,
2004

Presenter, PCIEP Program, September 2004

Session Chair and Discussant, Olin Seminar on Environmental Justice, Drexel University, October 2004
Presenter, Collegium Ramazzini Annual meeting, Carpi, Italy, October 2004

Presenter, UCLA MD/PhD Program, November 2004

Presenter, Qingdao Centers for Disease Control and Prevention, Qingdao, China

Presenter, Asbestos Conference, Tokyo, Japan, November 2004

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November 2019

Presenter, Pulmonary Conference, Hahnemann Hospital, January 2005

Member, Institute of Medicine Committee, Gulf War and Health, 2005-2006

Presenter, Post Graduate Occupational Medicine Programs, New Delhi, India, March-April 2005, May
2006

Presenter, Department of Labor Conference, Washington, DC, April 2005

Presenter, Sappington Lecture, ACOEM, Washington, DC, May 2005

Presenter, US School of Aerospace Medicine, San Antonio, Texas, May 2005; June 2006

Presenter, Nahariya Hospital, Israel, Lecture on asbestos, May 2005

Presenter, University of Paris France, Lectures on occupational cancers and asbestos, June 1, 2005
Presenter, AAMC Meeting on MD/MPH Programs, Chicago, Illinois, June 27, 2005

Presenter, UTMB, Grand Rounds Residency Program, Galveston, Texas, July 5-6, 2005

Session Chair, Collegium Ramazzini Conference, Living in a Chemical World, Bentivolgio, Italy
September 19, 2005

Presenter, Institute of Public Health, Iasi, Romania, Keynote Address September 22, 2005, Address
September 23, 2005

Presenter,14" Brazilian Congress of Toxicology, Recife, Brazil, October 10, 2005

Presenter, Beijing Forum (2005) Beijing, People’s Republic of China, November 19, 2005

Member, ACGME Appeals Panel for Preventive Medicine, 2006-2018

Presenter, EPA Public Hearing on Air Pollution Criteria, Representing ATS, March 8, 2006
Presenter, UMDNJ, March 2006

Session Chair, Asbestos Program, ADAO, April 1, 2006

Member, Delaware River Basin Commission, Toxics Advisory Committee, 2006-2009.

Presenter, Maulana Azad Medical College, New Delhi, India, May 2006

Presenter, Occupational and Environmental Medical Association of Canada, Toronto, CROM Memorial
Lecture, June 2006

Presenter, Summer Public Health Institute, lasi, Romania, July 2006

Session Chair and Presenter, Asian Asbestos Conference, Bangkok, Thailand, July 2006

Presenter, Business Exchange Breakfast, Philadelphia, October 17, 2006

Session Chair and Presenter, Collegium Ramazzini Meeting, Capri, Italy, October 29, 2006
Presenter, PCOEM, November 2006

Presenter, Asbestos Conference and Continuing Education Conference, New Delhi, India, December
2006

Presenter, State University of New York at Stony Brook, Occupational Lung Diseases, December 2006
Presenter, PCOM, Internal Medicine Group, January 2007

Participant, AAD Program, Drexel University School of Public Health, March 31 — April 1, 2007
Lecturer, Physician Assistant Course, Drexel University, April 2007

Lecturer, ACOEM Program, New Jersey, Asbestos, May 1, 2007

Presenter, Environmental Mutagenesis Conference, Turkey, May 22, 2007

Presenter, Drexel School of Public Health Program, Asbestos, June 1, 2007

Presenter, Occupational Medicine Course, Maulana Azad Medical College, New Delhi, India, June 2007
Presenter, UTMB, Galveston, Texas, July 2007

Member and Chair, Ad hoc Committee to Assess Liver Cancer in Bexar County Texas, San Antonio,
August 2007, December 2007

Presenter, SUNY Stony Brook, October 2007

Presenter, Collegium Ramazzini Meeting, Princess Chulaborn Institute, Bangkok, Thailand, December
2007

Presenter, Integral University, Lucknow, India, December 2007

Presenter, Sanjay Gandhi Institute, Lucknow, India, December 2007

Presenter, Joint Labor-Management Safety and Health Meeting, Vishakhaptnam, India, December 2007
Presenter, Centre for Occupational and Environmental Health, Maulana Azad Medical College, Delhi,
India, December 2007

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Presenter, Department of Medicine CME Program, Maulana Azad Medical College, Delhi, India,
December 2007

Session Chair,41* Annual Meeting of the Indian College of Allergy, Asthma and Applied Immunology,
Delhi, India, December 2007

Presenter, Toxic Links Meeting, Delhi, India, December 2007

Presenter, Philadelphia Zoning Code Commission, January 2008

Member and Chair, Advisory Committee, Mountain and Plains ERC, Denver, Colorado, January 2008-
present

Speaker, George Washington University School of Public Health, Washington, DC, February 2008
Lecturer, U.S. Air Force School of Aerospace Medicine, San Antonio, Texas, Mach 2008

Grant Reviewer, NIOSH Agricultural Center Program, March 2008

Session Chair, ADAO 4" Annual Conference, Detroit, Michigan, March 2008

Lecturer, Physician Assistants Program, Drexel University, April 2008

Lecturer, Maulana Azad Medical College, Delhi, India, May 2008

Presenter, National Conference on Climate Change, Delhi, India May 2008

Presenter, 1° International Conference on Mesothelioma, Sao Paulo, Brazil June 2008

Member, City of Philadelphia Air Pollution Control Board, June 2008-present

Lecturer, UTMB, Galveston, Texas, July 2008

Lecturer, Qingdao Centers for Disease Contro] and Prevention, Qingdao, China, August 2008
Member, Board of Scientific Counselors, CDC Center for Environmental Health/ATSDR, July 2008-
June 2012

Member, Scientific Review Board, Peking Medical University, August 2008

Presenter, ACPM Program on Indoor Air Pollution, August 2008

Presenter, Inhaled Particles X Meeting, Sheffield, England, September 2008

Presenter, FASLI Occupational Medicine Program, Mumbai, India, September 2008

Presenter, ESIC Occupational Medicine Program, Mumbai, India, September 2008

Invited Lecturer, University of Brescia, Italy, October 2008

Lecturer, Drexel University College of Medicine, November 2008

Consultant and Speaker, Sri Lankan NIOSH, Colombo, March 2009

Speaker, ESI Program, Chennai, India, March 2009

Session Chair, ADAO Annual Scientific Meeting, Los Angeles, California, March 2009

Speaker, Occupational Medicine Program, UMDNJ, March 2009

Speaker, ESI Program, Goa, India, May 2009

Speaker, Occupational Medicine Program, Maulana Azad Medical College, Delhi, India, May 2009
Participant, Harris Martin Asbestos Program, Chicago, Illinois, June 2009

Speaker, University of Occupational and Environmental Health, Kitakyushu City, Japan, August 2009
Speaker, Hangzhou Preventive Medicine Program, Hangzhou, China, August 2009

Speaker, Qingdao CDC, China, August 2009

Speaker, Uniformed Services, University of the Health Sciences, Bethesda, Maryland, November 2009
Organizer, Session Chair, Speaker, Collegium Ramazzini/Drexel/MAMC Meeting, New Delhi, India,
December 2009

Speaker, Clinical Case Conference, MAMC, New Delhi, India, December 2009

Speaker, MAMC Center for Liver and Biliary Disease, New Delhi, India, December 2009

Session Chair/Discussant, Round Table Conference on Issues Related to Asbestos Use in India, New
Delhi, India, December 2009

Speaker, Medical-Legal Program, Salisbury, North Carolina, January 2010

Advisory Board, Libby Epidemiology Research Program, Scientific Advisory Group, 2009-2014
Member, NIOSH NORA Mining Sector Council, 2010-

Speaker, Medical-Legal Program, Philadelphia, Pennsylvania, February 2010

Session Chair, ADAO Annual Meeting, Chicago, April 2010

Lecturer, Maulana Azad Medical College, New Delhi, June 2010

Lecturer, Sri Lanka NIOSH, Colombo, June 2010

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November 2019

Lecturer, University of Colombo, Sri Lanka, June 2010

Lecturer, University of North Colombo, Sri Lanka, June 2010

Lecturer, Moratuwa University, Sri Lanka, June 2010

Lecturer, University of Peradeniya, Kandy, Sri Lanka, June 2010

Lecturer, Postgraduate Institute of Medicine, Colombo, Sri Lanka, June 2010

Member, Editorial Board, Oxford University Press On-Line, Public Health Encyclopedia, 2010-
Keynote Speaker, Environmental Justice in Chester Conference, July 27, 2010

Invited Lecturer, UTMB, Galveston, Texas, August 5, 2010

Keynote Speaker, Shantou Medical College, Shantou, China, September 2010

Invited Lecturer, Fudan University School of Public Health, Shanghai, China, September 2010
Invited Speaker, McGeorge Law School, Sacramento, California, October 2010

Invited Speaker, Asbestos Conference, New York, NY, October 2010

Invited Speaker, Asia Asbestos Initiative Conference III, Fukuoka, Japan, November 2010
Presenter, APHA Meeting, Denver, Colorado, November 2010

Invited Speaker, California EPA, Sacramento, California, November 2010

Invited Lecturer, University of Brunei Darussalam, November 2010

Invited Speaker, Ministry of Health, Occupational Health Unit, Brunei, November 2010

Invited Speaker, Jodhpur National University, Jodhpur, India, November 2010

Lecturer, Emerging Developments in Occupational Medicine Practice Conference, Maulana Azad
Medical College, New Delhi, India, November 2010

Invited Speaker, National Institute of Health, Family and Welfare, New Delhi, India, December 2010
Invited Speaker, Basaidharapur Hospital, ESIC, New Delhi, India, December 2010

Grand Rounds Speaker, Crozer Chester Medical Center, January 2011

Invited Speaker, Occupational Health Program, Raleigh, North Carolina, January 2011

Invited Grand Rounds Speaker, UTMB, Galveston, Texas, February 2011

Speaker, International Conference, Maulana Azad Medical College, New Delhi, India, March 2011
Session Chair, ADAO Meeting, Atlanta, Georgia, April 2011

Invited Speaker, Agricultural Safety and Health Conference, Chulalongkorn University, Bangkok,
Thailand, July 2011

Invited Lecturer, UTMB, Galveston, Texas, August 201 1

Peer Reviewer, Diacety] Document-NIOSH, August 2011

Guest Editor, Safety and Health special issue of “Minerals” 2011-2012

Member, Technical Advisory Council District 1199C, Susan Harwood OSHA Grant, Philadelphia,
Pennsylvania, 201 1-present

Member, CEPH Accreditation Planning Committee, 2011-2014

Invited Speaker, Occupational and Environmental Medical Association of Canada, 29" Annual
Scientific Conference, Niagara-on-the-Lake, Canada, October 2011

Invited Speaker, Asbestos in Vermiculite Program, Libby, Montana, October 201]

Invited Speaker, Public Interest Law Center of Philadelphia Symposium, Philadelphia, October, 2011
Invited Speaker, NIOH, Ahmedabad, India, December 11

Invited Lecturer, Maulana Azad Medical College, New Delhi, India December 2011

Invited Speaker, Asbestos Program, Philadelphia, January 2012

Invited Speaker, U.S. Air Force Occupational Medicine Program, March 2012

Invited Speaker, University of Colorado SPH Research Day Keynote Speaker, March 2012
Session Chair, ADAO Annual Meeting, Manhattan Beach, California, March 2012

Invited Speaker, Johns Hopkins University SPH, Baltimore, Maryland, Apri] 2012

Invited Speaker, USUHS, Department of Preventive Medicine, Bethesda, Maryland, April 12
Invited Speaker: University of Pennsylvania Occupational Medicine Program, April 12

Invited Speaker, Occupational Health Clinics for Ontario Workers, Sarnia, Ontario, April 2012
Invited Speaker, Workers Memorial Day Program, Sarnia, Ontario, Apri] 2012

Invited Speaker, Maulana Azad Medical College, New Delhi, India, July 2012

Invited Presenter, Supreme Court of Brazil, Brasilia, August 2012

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November 2019

Invited Speaker, Qingdao CDC, China, September 2012

Invited Speaker, IIT, New Delhi, India, November 2012

Invited Speaker, Maulana Azad Institute of Dental Sciences, New Delhi, India, November 2012
Invited Speaker, Maulana Azad Medical College, New Delhi, India, December 12

Invited Speaker, International Meeting, Maulana Azad Medical College, New Delhi, India, December
2012

Invited Speaker, UMDNJ, Piscataway, New Jersey, December 2012

Invited Speaker, Asbestos Program, Philadelphia, January 2013

Invited Speaker, American College of Preventive Medicine Annual Meeting, Scottsdale, Arizona,
February 2013

Grand Rounds Speaker, Department of Medicine, Drexel University College of Medicine, February
2013

Invited Speaker, ADAO Annual Meeting, Washington, DC, March 2013

Invited Speaker, DOE Former Workers PI Meeting, Washington, DC, May 2013

Invited Speaker, ATS Annual Meeting, Philadelphia, Meet the Professor Session, May 2013
Speaker, Clean Air Council, Philadelphia, June 2013

Speaker, Health Sciences University, Ulaanbaatar, Mongolia, July 2013

Grand Rounds Speaker, Christiana Hospital, August 2013

Speaker, Inhaled Particles XI, Nottingham, England, September 2013

Invited Speaker, Maulana Azad Medical College, New Delhi, India, December 2013

Invited Speaker, Conference for Orland Gas Industry, New Delhi, India, December 2013
Grand Rounds Speaker, Mount Sinai School of Medicine, January 2014

Invited Speaker, Asbestos Program, San Francisco, California, January 2014

Invited Speaker, Agricultural Safety and Health Talk, Drexel Sacramento Campus, March 2014
Invited Lecturer, JH-Perdana University, Malaysia, June 2014

Invited Speaker, AOEMM 8" Annual Conference, Kuala Lumpur, Malaysia, June 2014
Speaker, Occupational Health Workshop, MAMC, New Delhi, India, June 2014

Invited Lecturer, National Institute of Health and Family Welfare, New Delhi, India, July 2014
Invited Speaker, Asbestos Meeting, SPH, Ulaanbaatar, Mongolia, July 14

Invited Speaker, Occupational Health Center, Ulaanbaatar, Mongolia, July 2014

Invited Faculty, ITT-Delhi, India, July14

Invited Grand Rounds Speaker, Christiana Care, September 2014

Invited Speaker, Collegium Ramazzini, Silica Session, Carpi, Italy, October 2014

Invited Lecturer, Maulana Azad Medical College, New Delhi, India, December 2014

Member, University Honorary Degree Committee, 2014-

Invited Speaker, UMDNJ EOH Program, New Jersey, February 2015

Invited Speaker, International Conference on Hearing Loss, New Delhi, India, February 2015
Invited Lecturer, Obama-Singh Grant Program on Risk Assessment Hyderabad, India, March 2015
Invited Speaker, ADAO Conference, Washington, DC, April 2015

Invited Lecturer, School of Public Health, Mongolian National University of Medical Sciences,
Ulaanbaatar, Mongolia, June 2015

Invited Speaker, DOE Public Session, Amarillo, Texas, July 2015

Invited Lecturer, UTMB, Galveston, Texas, July 2015

Invited Speaker, Collegium Ramazzini Scientific Meeting, Carpi, Italy, October 2015

Invited Speaker, Health 3000 Meeting, Colombo, Sri Lanka, December 2015

Invited Speaker, MAMC Conference, New Delhi, India, December 2015

Member, University Tenure Appeals Committee, 2015-2016

Member, Dornsife Professor Search Committee, 2016

Member, Boren Fellowship Review Committee, January 2016

Member, Drexel University Travel Committee, 2016

Member, University Grievance Committee, 2016-2019

Member, Dornsife Committee on Global Health, 2016

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Speaker, ADAO Conference, Washington, DC, April 16
Speaker, Scientific Conference, UTHSCT, Tyler, Texas, June 2016

Visiting Faculty:

Mongolian National University of Medical Science, School of Public Health, June 2016

Invited Lecturer: UTMB, Galveston, Texas, July 2016

Visiting Faculty:
Invited Speaker:

Buenos Aires, Argentina, September 2016
Brazil, October 2016

Member: Drexel School of Public Health MD/MPH Advisory Board, 2016 —
Member: Drexel School of Public Health Global Health Advisory Committee, 2016 —
Presenter: Collegium Ramazzini Meeting, Carpi, Italy, October 2016

Lecturer: Ramazzini Lecture, Carpi, Italy, October 2016

Member: SPH Global Health Advisory Board, 2016 —

Member: AOEC Board of Directors, 2017 —

Invited Speaker:
Invited Speaker:
Invited Speaker:
Invited Speaker:
Invited Speaker:
Invited Speaker:
Invited Speaker:
Invited Speaker:

Asbestos Program, January 2017

Indian National Institute of Health and Family Welfare, New Delhi, February 2017
Health and Environment Foundation, New Delhi, February 2017

ITT-Delhi, New Delhi, February 2017

Workshop on Silicosis, Jodhpur, February 2017

Indian Public Health Association meeting, Jodhpur, February 2017

ADAO Meeting, Washington, DC, April 2017

National Center for Public Health, Mongolia, June 2017

Consultant: Center for Occupational Health, Mongolia, June 2017
Invited Lecturer: UTMB, Galveston, TX, July 2017

Invited Speaker:

Asbestos Program, Bogota, Columbia, August 2017

Poster Presenter: Inhaled Particles XII, Glasgow, September 2017

Poster Presenter: Collegium Ramazzini meeting, Carpi 2017

Advisor, Invited Speaker and Chairperson: Amity University meeting on Women’s and Environmental
Health, Lucknow, India, November 2017

Invited Speaker:

Mining Safety and Health Program, Hyderabad, India, December 2017

Participant: Meeting at EPA on Asbestos, March 2018

Invited Speaker:
Invited Speaker:
Invited Speaker:

Asbestos Program, Juan N. Corpas Medical College, Bogota, Colombia, May 2018
2™4 International Seminar on Asbestos, Brazil, May 2018
Juan N. Corpas University, Bogota, Columbia, August 2018

Invited Lecturer: UTMB, Galveston, TX, August 2018

Invited Speaker:
Invited Speaker:

National Center of Public Health, Ulaanbaatar, September 2018
Occupational Safety and Health Center, Ulaanbaatar, September 2018.

Lecturer: NMUUMS, Ulaanbaatar, September 2018

Trainer: Occupational Physicians, Ulaanbaatar, September 2018

Member: Advisory Committee, Center for Expertise for Asbestos & Fibers, The Netherlands, 2018-
Scientific Program Monitor: Collegium Ramazzini Meeting, Italy, November 2018

Academic Program Advisor: MAMC, New Delhi, India, December 2018

Invited Speaker:

Session Chair, Scientific Program Committee Air Pollution and Climate Change

Conference, MAMC, New Delhi, India, December 14-15, 2018
Member: Faculty of Asbestos Assessment and Management, BOHS, 2019-

Invited Speaker:
Invited Speaker:
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Invited Speaker:
Invited Speaker:

NEERI, Nagpur, India, January 2019

Jindal Steel, Vijayanagar, India, February 2019

ADAO Conference, Washington, DC, April 2019

Global Health Program Conference, Drexel University, May 2, 2019

National University of Colombia, School of Public Health, Bogota, May 6, 2019
National University of Colombia Press, Book Fair Presentation, May 6, 2019
Hospital of National University of Colombia, Bogota, May 7, 2019

Resident’s Pulmonary Conference Hahnemann Hospital, May 24, 2019

Peking University School of Public Health, June 2019

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November 2019

Invited Speaker: MNUMS — SPH, Ulaanbaatar, Mongolia, June 2019

Invited Speaker: Health and Safety Staff, Oyu Tolgoi Mine, Mongolia, June 2019

Invited Speaker: Amity University Lucknow, India, September 2019

Invited Speaker: Dr. Ram Manohar Lohia Institute of Medical Sciences, September 2019

Invited Speaker: Amity University, Haryana, India, September 2019

Invited Speaker: Indian Institute of Technology, Delhi, India, September 2019

Invited Speaker: Clean and Green Environmental Society Seminar on “Environment and Health”,
Lucknow, India, September 2019

Invited Speaker: International Symposium on Air Pollution — Causes, Mitigation & Strategic Planning,
Amity University, Haryana, September 2019

Associate Editor: European Journal of Oncology, Occupational and Environmental Health, 2019 —

Invited Speaker: Institute Fiir Arbeitsmedizin, Sozialmedizin und Umweltmedizin, Frankfurt, Germany,
October 2019

Presenter: Radiographic Changes in Colombian Asbestos Factory Workers, Collegium Ramazzini
Meeting, October 2019

Invited Speaker: Member International Scientific Planning Committee, Session Chair, and Speaker. 15"
International Symposium on Metal Ions & Organic Pollutants in Biology, Medicine
and Environment. NEERI, Nagpur, India, October 2019

PLANNED ACTIVITIES

Invited Speaker: European Asbestos Forum, Amsterdam, November 2019

Invited Speaker: ILO Training Course, Bogota, Colombia, December 2019

Invited Speaker: Asbestos Safety and Eradication Agency, Sydney, Australia, March 2020
Invited Speaker: Asbestos Disease Research Institute, University of Sydney, March 2020

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BOOKS, REVIEWS, AND BOOK CHAPTERS

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Trump BF, McDowell EM, Barrett LA, Frank A, Harris C. Studies of Ultrastructure.
Cytochemistry and Organ Culture of Human Brochial Epithelium. In Experimental Respiratory
Carcinogenesis and Bioassays. New York: Springer-Verlag, 1974, p. 548-563.

Harris C, Autrup H, Van Haaften C, Connor R, Frank A, Barrett L, McDowell E, Trump B.
Inhibition of Benzo(a)pyrene Binding to DNA in Cultured Human Bronchi. In Proe 3rd Int
Symposium Cancer Detection and Prevention, Part I, Vol 2, Nieburgs H. (Ed). Amsterdam:
Excerpta Medica, 1977, p. 1359-1364.

Frank AL. Occupational Lung Cancer. In Pathogenesis and Therapy of Lung Cancer, Harris C.
(Ed). New York: M. Dekker, Inc., 1978, p. 25-5].

Frank AL. In Public Health and Preventive Medicine, \Ith Edition, Last J. (Ed). New York:
Appleton-Century-Crofts, 1980. a. Arsenic, p. 660-662; b. Antimony, p. 681; c. Thorium, p.
681-682; d. Benzidine, The Napthylamines, and Miscellaneous Carcinogenic Compounds, p.
751-755; e. Non-lonizing Radiation, p. 777-787.

Frank AL. Cancer. New York: Matthew Bender and Co., 1978.

Frank AL, Spigelman M. Lung Cancer. In Cancer. New York: Matthew Bender and Co., 1980,
p. I-51.

Frank AL. Asbestosis. New York: Matthew Bender and Co., 1980, p. I-51.

Frank AL. Definition of Preventive Medicine. In Charting Graduate Education in Preventive
Medicine, Byrd B. (Ed). Washington, DC: American College of Preventive Medicine, 1980, p.
7-8.

Frank AL. Asbestos-Induced Changes in Hamster Trachea Organ Culture. In The Jn-Vitro
Effects of Mineral Dusts. Brown R, et al. (Eds). London: Academic Press, 1980, p. 235-240,

Wade MJ, Lipkin LE, Stanton MF, Frank AL. P388D, In-Vitro Cytotoxicity as Applied to
Asbestos and Other Minerals: Its Possible Relevance to Carcinogenicity. In The In-Vitro Effects
of Mineral Dusts, Brown R, et al. (Eds). London: Academic Press, 1980, p. 351-358.

Frank AL. Health Effects of Fibers. National Academy of Sciences Report on Indoor Air
Pollutions, Washington, DC, 1981.

Frank AL. Occupational and Environmental Exposure. In An Introduction to Physical
Diagnosis. Swartz M (Ed). New York: Raven Press, 198], p. 303-3ll.

Frank AL, Spigelman M. Blood-Related Malignancies. In Cancer. New York: Matthew Bender
& Co., 1981, p. 1-123.

Frank AL. The Hospital as an Environmental Health Resource. In Principles of Hospital- Based
Ambulatory Care, Pascarelli EF (Ed). New York: Appleton- Century- Crofts, 1982, p. 309-314.

Frank AL, Spigelman M. Cancer of the Liver, Gall Bladder, and Bile Ducts. In Cancer. New
York: Matthew Bender and Co., 1982, p.I-43.

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Frank AL, Spigelman M. Cancer of the Pancreas. In Cancer. New York: Matthew Bender and
Co., 1982, p. ]-22.

Frank AL. The Etiology and Epidemiology of Lung Cancer. Clin in Chest Med 3:219-228, 1982.

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